Case 1:21-cr-00175-TJK Document 861-1 Filed 08/17/23 Page 1 of 2




                       EXHIBIT A




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        Case 1:21-cr-00175-TJK Document 861-1 Filed 08/17/23 Page 2 of 2




My name is Angelina Pezzola, I am 19 years old and I am Dominic Pezzola’s youngest
daughter. Ever since I was little, my father has always been a source of comfort, compassion,
and a pillar that has kept the darkness of the world from reaching me. My father has spent his
life working himself like a dog, destroying his body just to give me and my sister a better chance
at life, and it’s worked as I’m now attending college and have never had to deal with financial
struggle, food scarcity, or homelessness in my life.

Since my father has been incarcerated, my life has been uprooted and twisted in such a way
that I couldn’t even imagine when he was still a free man. Every new person I meet I fear will
recognize my last name and treat me with disdain, everytime I see my father in the news or on
social media I feel despair deep in my soul as I see anonymous faces scowl and curse my
family for existing. Everytime I look in the mirror and see what resemblance I have to my father I
can’t help but feel shame well up inside me. Everytime I enjoy life with my friends and family I
can’t help but think “is my dad okay? Is he enjoying his day today? Is he in pain?” And it hurts to
not be able to ask him these questions every day like I used to.

My father has missed so many of the last childhood milestones I had before becoming an adult,
he didn’t see me get my driver’s license, he didn’t see me graduate highschool, he didn’t see
me get accepted into college, he hasn’t seen my 17th, 18th, and 19th birthday. That is time I will
never get back with him and something he and I will never be able to bond over as I spent the
last of my childhood without my dad.

Judge Kelly, My father and I both know what he did was wrong and a show of extremely poor
taste in judgement and character and he must be punished. But when you sit before my father
and hand him his sentence, please think of me and think of what my family has lost, what I have
lost, and what I will continue to lose, and please consider if the sentence is worth the crime and
pain that it will ensue.

Sincerely,
   Angelina Pezzola
